     Case 2:18-cv-03248-CAS-JPR Document 41 Filed 08/01/19 Page 1 of 2 Page ID #:216



 1

 2

 3

 4

 5

 6

 7

 8                            UNITED STATES DISTRICT COURT

 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11    ANN JANETTE CORTEZ,                        )   Case No.: 2:18cv03248−CAS−JPRx
                                                 )
12                    Plaintiff,                 )   [PROPOSED] ORDER
13                                               )   APPROVING STIPULATION FOR
         v.                                      )   MODIFICATION OF COURT’S
14                                               )   SCHEDULING ORDER
15    CITY OF LOS ANGELES, et al.                )
                                                 )
16               Defendants.                     )
17    _______________________________            )
18

19            AFTER HAVING REVIEWED THE PARTIES PAPERS and GOOD
20    CAUSE APPEARING THEREFORE;
21            The court hereby approves the modification of the scheduling order as
22    follows:
23            Non-Expert Deposition Discovery Cut-Off
24            (includes hearing of discovery motions):     09/16/19
25            Last Day to file Motions:                    09/27/19
26            Exchange of Expert Reports cut-off:          09/16/19
27    ///
28    ///
                                                 1
                [PROPOSED] ORDER APPROVING APPROVING STIPULATION FOR
                      MODIFICATION OF COURT’S SCHEDULING ORDER
     Case 2:18-cv-03248-CAS-JPR Document 41 Filed 08/01/19 Page 2 of 2 Page ID #:217



 1         Exchange of Rebuttal Expert Reports cut-off: 10/16/19
 2         Expert Discovery Cut-Off:                   11/15/19
 3         IT IS SO ORDERED
 4
      Dated: August 1, 2019        ____                     ________
 5                                 HONORABLE CHRISTINA A. SNYDER
 6                                 UNITED STATES DISTRICT COURT

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                             2
             [PROPOSED] ORDER APPROVING APPROVING STIPULATION FOR
                   MODIFICATION OF COURT’S SCHEDULING ORDER
